






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NOS. WR-51,354-03, 51,354-04




EX PARTE RONROYAL J. OWENS, Applicant




ON APPLICATIONS FOR WRITS OF HABEAS CORPUS
CAUSE NOS. F98-67384-MT &amp; F98-01040-T IN THE 283RD DISTRICT COURT
FROM DALLAS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O R D E R

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court these applications for writs of habeas corpus.  Ex
parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of attempted
aggravated sexual assault of a child and indecency with a child and sentenced to twenty years’
imprisonment on both counts. The Fifth Court of Appeals affirmed his convictions. Owens v. State,
Nos. 05-98-02058, 05-98-02059-CR (Tex. App.–Dallas, June 5, 2000) (not designated for
publication). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This Court received the original 11.07 applications on January 22, 2002 and, based on the
trial court’s findings and conclusions, denied relief without written order on May 14, 2003. Since
that disposition, the Court has become aware of additional grounds raised in a supplement applicant
filed with the district clerk that was never forwarded to this Court. Owens v. District Clerk, No. WR-51,354-08 (Tex. Crim. App., Order of February 4, 2009) (not designated for publication).
Applicant’s “Second Supplemental Memorandum of Law,” file-stamped by the Dallas County
District Clerk on September 5, 2002,  is now before the Court. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We now withdraw our order of May 14, 2003 and reconsider the case on our own motion.
Tex. R. App. P. 79.2(d). Having considered the additional grounds raised by that supplement, based
upon the trial court’s findings of fact and conclusions of law, as well as our independent review of
the record, we deny relief. 
Filed: January 27, 2010
Do not publish  


